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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                            4:23CR3039

     vs.
                                                              ORDER
TARRA    ARCOS,            and     GLENDA
AGUILAR,

                     Defendants.


      Defendant Arcos has moved to continue the pretrial motion deadline,
(Filing No. 42), because Defendant and defense counsel need additional time to
fully review the discovery. The motion to continue is unopposed. Based on the
showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

      IT IS ORDERED:


      1)       Defendant’s motion to continue, (Filing No. 42), is granted.

      2)       As to all defendants, pretrial motions and briefs shall be filed on or
               before June 7, 2023.

      3)       As to all defendants, the conference call previously scheduled to be
               held on May 2, 2023, is continued. A telephonic conference with
               counsel will be held before the undersigned magistrate judge at 9:45
               a.m. on June 14, 2023 to discuss setting any pretrial motion hearing
               needed, a change of plea hearing, or the date of the jury trial and
               deadlines for disclosing experts as required under Rule 16. Counsel
               for all parties shall use the conferencing instructions provided by the
               court to participate in the call.

      4)       The ends of justice served by granting the motion to continue
               outweigh the interests of the public and the defendants in a speedy
               trial, and as to all defendants, the additional time arising as a result
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          of the granting of the motion, the time between today’s date and
          June 14, 2023 shall be deemed excludable time in any computation
          of time under the requirements of the Speedy Trial Act, because
          although counsel have been duly diligent, additional time is needed
          to adequately prepare this case for trial and failing to grant additional
          time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1),
          (h)(6) & (h)(7). Failing to timely object to this order as provided under
          this court’s local rules will be deemed a waiver of any right to later
          claim the time should not have been excluded under the Speedy
          Trial Act.


    Dated this 21st day of April, 2023.

                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge
